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                                                  U.S. Department of Justice


                                                  United States Attorney
                                                  Eastern District of New York
MPR:RH                                            271 Cadman Plaza East
F#: 2019R00927                                    Brooklyn, New York 11201


                                                  December 9, 2019

SUBMITTED EX PARTE AND UNDER SEAL

By ECF and Hand

The Honorable Raymond J. Dearie
United States District Judge
United States District Courthouse
225 Cadman Plaza East
Brooklyn, New York 11201

The Honorable Brian M. Cogan
United States District Judge
United States District Courthouse
225 Cadman Plaza East
Brooklyn, New York 11201

Douglas C. Palmer
Clerk of the Court
United States District Courthouse
225 Cadman Plaza East
Brooklyn, New York 11201

              Re:    United States v. Joaquin Guzman Loera, et al.
                     Docket No. 09-CR-466 (BMC)                   j

                     United States v. Genaro Garcia Luna
                     Docket No. 19-CR-576 (RJD)          f

Dear Judge Dearie and Judge Cogan:

              Pursuant to Rules 50.3.2 and 50.4 of the Guidelines for the Division of Business
Among District Judges, the government hereby provides notice that the above-referenced cases
are presumptively related. Accordingly, the government respectfully requests reassignment of
United States v. Garcia Luna, 19-CR-576, to Judge Cogan. Garcia Luna is presumptively
related to Guzman Loera because the facts of Garcia Luna arise out of the same criminal
schemes, transactions and events as charged in Guzman Loera.
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               Specifically, on December, 4, 2019, a grand jury sitting in the Eastern District
of New York returned an indictment charging the defendant with: (i) conspiracy to distribute
and possess with intent to distribute cocaine, in violation of Title 21, United States Code,
Sections 841 and 846; (ii) cocaine importation conspiracy, in violation of Title 21, United
States Code, Sections 952 and 963; (iii) international cocaine distribution conspiracy, in
violation of Title 21, United States Code, Sections 959 and 963; and (iv) making false
statements, in violation of Title 18, United States Code, Section 1001. The charges stem from
Garcia Luna’s corrupt assistance to the Sinaloa Cartel. The defendant held the cabinet-level
position of Secretary of Public Security in Mexico from 2006 to 2012. The defendant abused
that public position, and other positions of public trust that he previously held, to help the
Sinaloa Cartel traffic cocaine into the United States, including New York City. In exchange
for multimillion-dollar bribes, he permitted that Cartel—one of the largest and most violent
criminal organizations in the world—to operate with impunity in Mexico.

                Notably, at trial in Guzman Loera, Jesus Zambada Garcia, also known as “Rey
Zambada,” one of the former leaders of the Sinaloa Cartel and the brother of its current leader
Ismael Zambada Garcia, also known as “El Mayo,” testified about multimillion-dollar bribes
that he and Mayo Zambada paid the defendant to facilitate the Sinaloa Cartel’s drug trafficking
operations in the mid-2000s. See Guzman Loera, 09-CR-466 (S-4) (BMC), Trial Tr., Feb. 20,
2019, 1102:20-25; 1103:1-6, 7-9; 1104:12-25; 1105:1-12, 18-20. In particular, Rey Zambada
testified that, on at least two occasions, he personally brought the defendant briefcases
containing between three and five million dollars, in exchange for the defendant’s assurance
that he would assist the Sinaloa Cartel. Mayo Zambada is charged as the co-defendant in
Guzman Loera.

                For the foregoing reasons, Garcia Luna is thus presumptively related to Guzman
Loera. The government respectfully submits that reassignment to Judge Cogan would be
appropriate, as it would likely result in a significant savings of judicial resources and serve the
interests of justice.

               The government respectfully requests that this letter be filed ex parte and under
seal. Garcia Luna has not yet been arrested, and his indictment is presently under seal; thus,
disclosure of this letter would jeopardize the government’s compelling interest in its ongoing
investigation. See United States v. Amodeo, 44 F.3d 141, 147 (2d Cir. 1995) (need to protect
integrity of ongoing investigation can justify sealing).

               For similar reasons, the government requests that the docket entry in Guzman
Loera indicating that this letter was filed be sealed. If the docket entry in Guzman Loera
discloses the fact that another case is related to Guzman Loera, such disclosure could
prematurely alert Garcia Luna that he may be arrested. Garcia Luna may be able to infer that
the related case pertains to him, because there was specific testimony about him during the
Guzman Loera trial, and he is one of the few high-level coconspirators residing in the United
States whom the government has not yet arrested.




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                For all the foregoing reasons, the government respectfully requests that this
letter be filed ex parte and under seal and that the docket entry regarding the letter be sealed.


                                                    Respectfully submitted,

                                                    RICHARD P. DONOGHUE
                                                    United States Attorney

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